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                                             Exhibit A

                         "Fees on Fees" - Fees related to 2016 Motion

 Date      By Whom        Amount     Notes                                                          Time

                                     Fees on Fees: t/c w/RF re fee application, process for
02/01/16 ML - Marcia      $106.25    resolving                                                             0.25
02/01/16 ML - Marcia       $70.83    Fees on Fees: email SG re fees                                        0.17
02/01/16 ML - Marcia       $70.83    Fees on Fees: TC to SG re fees research                               0.17
02/01/16 SG - Sarah        $59.60    Fees on Fees: TC w/ ML re fees research                               0.17
                                   Fees on Fees: Research into 5th Cir decisions re attys fees
02/01/16 SG - Sarah      $1,575.00 hourly rates; memo to ML re same                                        4.50

                                     Fees on Fees: Revise memo to ML re previous fee apps from
02/09/16 SG - Sarah       $262.50    CR and include Laffey Matrix data                                     0.75
                                    Fees on Fees: Tel/call w/ ML re MS fees and comparable
02/09/16   SG - Sarah     $233.33   hourly rates                                                           0.67
                                    Fees on Fees: rev state proposal, emails t/f co-counsel re
02/09/16   ML - Marcia    $283.33   same                                                                   0.67

02/09/16   ML- Marcia     $283.33    Fees on Fees: telephone call SG re state fees proposal                0.67
02/09/16   ML - Marcia    $141.67    Fees on Fees: rev SG memo re fees                                     0.33
                                    Fees on Fees: rev., respond to Rusty F re state proposal re
02/10/16   ML -Marcia      $70.83   fees                                                                   0.17
02/16/16 SG - Sarah       $943.35    Fees on Fees: recalculate hours at different hourly rates             2.70
02/16/16 ML - Marcia      $106.25    Fees on Fees: rev., resp, Rusty F re fees                             0.25
02/17/16 ML - Marcia      $106.25    Fees on Fees: from RF re fees                                         0.25
02/17/16   ML - Marcia    $141.67    Fees on Fees: t/f Wayne D re state's position                         0.33
                                     Fees on Fees: Tel/Call w/ ML re need for filing mtn for fee
02/29/16 SG - Sarah        $35.00    hourly rate increase                                                  0.10
                                     Fees on Fees: TC w/ SG re need for filing mtn for fee hourly
02/29/16   ML - Marcia     $42.50    rate increase                                                         0.10
02/29/16 SG - Sarah       $875.00    Fees on Fees: review of legal standards for fees motion               2.50
02/29/16 ML - Marcia      $212.50    Fees on Fees: email to counsel re fees                                0.50
02/29/16   WWD - Wayne    $120.00    TC, emails M. Lowry re Public Catalyst, attorney's fee issue          0.30
03/01/16   ML - Marcia    $106.25    Fees on Fees: tc w/ SG re fees                                        0.25
03/01/16   SG - Sarah     $87.50     Fees on Fees: TC w/ ML re fees                                        0.25
03/01/16   ML - Marcia    $212.50    Fees on Fees: memo re AF application to co-c, para                    0.50
03/07/16   SJ - Jaffe      $72.60    Fees on Fees: TC w/ SG re motion for pltfs' fees                      0.33
03/07/16 SG - Sarah       $116.67    Fees on Fees: Tel call w/ SJ re motion for pltfs fees                 0.33
03/07/16 SG - Sarah       $155.50    Fees on Fees: TC w/ ML re fee motion                                  0.33
03/07/16 ML - Marcia      $141.67    Fees on Fees: tc/SG re fee motion                                     0.33
                                     Fees on Fees: Email - to WD re materials for local atty fee
03/07/16   SG - Sarah     $116.67    affidavits                                                            0.33
03/07/16   SJ -Jaffe      $484.00    Fees on Fees: draft outline of fees memo                              2.20



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 Date      By Whom       Amount     Notes                                                          Time

03/08/16   Si - Jaffe    $660.00    Fees on Fees: Outline/research of MS fees motion                      3.00
03/08/16   SG - Sarah     $350.00 Fees on Fees: Review SJ outline for fees motion and respond             1.00
03/09/16   Si - Jaffe    $1,320.00 Fees on Fees: First draft of fee motion                                6.00
                                    Fees on Fees: Revisions to memorandum for fees; emls to ML
03/09/16   SG - Sarah    $612.50    and Si re same                                                        1.75
03/10/16   SJ -Jaffe     $726.00    Fees on Fees: Revisions/additional research re: fee memo              3.30

                                    Fees on Fees: TC w/ SJ re fee memorandum discussion
03/10/16   SG - Sarah    $115.50    section                                                               0.33
03/10/16   Si - Jaffe     $73.33    Fees on Fees: telephone call w/SG re fees brief                       0.33
                                    Fees on Fees: Review emls from ML re discussion section of
03/10/16   SG - Sarah    $116.67    fees motion                                                           0.33
03/10/16   ML - Marcia   $850.00    Fees on Fees: edit fees brief                                         2.00

03/11/16   ML - Marcia   $637.50    Fees on Fees: edit fees memo                                          1.50
03/11/16   ML - Marcia    $70.83    Fees on Fees: telephone w/Wayne D re rates                            0.17
                                    Prepare declaration in support of attorney's fee motion; TC
03/11/16   WWD - Wayne   $280.00    M. Lowry                                                              0.70
03/11/16   WWD - Wayne   $320.00    Work on attorney's fees issues, emails and TC M. Lowry                0.80
03/11/16   ML - Marcia   $106.25    Fees on Fees: w/SG, Si re fee brief edits                             0.25
03/11/16 SG - Sarah       $87.50    Fees on Fees: TC w/ ML and Si re fees motion edits                    0.25
03/12/16 SJ -Jaffe        $55.00    Fees on Fees: Call with ML and SG re fees motion                      0.25
                                   Fees on Fees: Research/edit/revise memorandum of law in
03/12/16   SG - Sarah    $1,225.00 support of fees motion                                                 3.50
                                    Fees on Fees: Research on required notice, if any, for class
03/12/16   SG - Sarah    $262.50    members of post-judgment attys fees memorandum                        0.75

                                    Fees on Fees: Conf call w/ ML and SJ re Memorandum for
03/12/16   SG - Sarah    $116.67    Mtn for Fees                                                          0.33
                                    Fees on Fees: Conf call with SG and SJ re memorandum for
03/12/16   ML - Marcia   $140.25    mtn for fees                                                          0.33
                                    Fees on Fees: Conf call with ML and SG re memorandum for
03/12/16   SJ - Jaffe    $72.60     mtn for fees                                                          0.33
03/13/16   SJ - Jaffe    $476.67    Fees on Fees: Draft declaration for fees motion                       2.17
03/13/16   SJ -Jaffe      $36.67    Fees on Fees: Email re: fees motion                                   0.17


03/13/16   SJ - Jaffe     $72.60    Fees on Fees: TC with Sara re declarations for fees motion            0.33
                                    Fees on Fees: TIC w/ SJ re revisions to fees memorandum
03/13/16 SG - Sarah      $116.67    and declarations                                                      0.33

                                    Fees on Fees: Review eml from ML re order approving fees
03/13/16 SG - Sarah       $35.00    without notice to class members - email to SJ re same                 0.10
03/13/16 SG - Sarah      $203.58    Fees on Fees: Review ML dec; send corrections to Si                   0.58




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 Date      By Whom       Amount     Notes                                                             Time

                                   Fees on Fees: Revisions to Memo of Law in support of
03/13/16   SG - Sarah    $1,225.00 motion for atty fees                                                      3.50
                                    Fees on Fees: Review S. Dixon draft declaration/ revisions
03/13/16   SG - Sarah    $145.83    and send to counsel for input; t/c w/ SJ re same                         0.42
                                    Fees on Fees: TC w/ SJ re S. Dixon's draft declaration
03/13/16   SJ -Jaffe      $55.00    revisions                                                                0.55
                                    Fees on Fees: TC w/ SG re attorneys fee hours on chart;
                                    research on notice to class members for post-judgment atty
03/13/16   SJ -Jaffe      $17.60    fees                                                                     0.08
                                    Fees on Fees: T/C w/ SJ re attorneys fee hours on chart;
                                    research on notice to class members for post judgment attys
03/13/16   SG - Sarah     $29.17    fees                                                                     0.08
03/13/16   ML - Marcia   $283.33    Fees on Fees: rev emails, SG, Si re brief, rev atty affirmation          0.67
                                   Fees on Fees: Incorporate changes/further research on fee
03/13/16   SJ -Jaffe     $1,012.00 memorandum                                                                4.60
03/14/16   Si -Jaffe     $165.00    Fees on Fees: Revise Marcia declaration for fees motion                  0.75

                                    Fees on Fees: Draft declaration of Stephen Dixon for fees
03/14/16   SJ -Jaffe     $256.67    motion                                                                   1.17

03/14/16   SJ - Jaffe     $37.40    Fees on Fees: TC with SRG re: fees motion                                0.17
03/14/16   SJ - Jaffe     $72.60    Fees on Fees: Telephone call with SG re: fees motion                     0.33

03/14/16   SG - Sarah    $116.67    Fees on Fees: T/Cs w/ SJ re getting 6th cir fees decision                0.33
03/14/16   SG - Sarah     $58.33    Fees on Fees: Review 6th Cir case, t/c w/S1 re same                      0.17
03/14/16   SJ - Jaffe    $183.33    Fees on Fees: Draft SG declaration for fees motion                       0.83
                                    Fees on Fees: Research notice to class for post judgment
03/14/16   SJ - Jaffe    $128.33    monitoring fees                                                          0.58
03/14/16   SJ -Jaffe     $168.67    Fees on Fees: Revise ML declaration for fees motion                      0.77
                                   Fees on Fees: Work with Si to revise ML Dec; revisions to
03/14/16   SG - Sarah    $1,050.00 fees memorandum                                                           3.00
03/16/16   ML - Marcia    $141.67 Fees on Fees: rev/resp WD fees affirmation                                 0.33
03/16/16   WWD - Wayne    $80.00    Emails M. Lowry re attorney's fee claim, declarations                    0.20
03/16/16   ML - Marcia    $70.83    Fees on Fees: TC w/ SG re fees appl                                      0.17
03/16/16   SG - Sarah     $59.50    Fees on Fees: TC w/ ML re fees appl                                      0.17
                                    TC R. Fortenberry re meetings, work on attorney's fee
03/17/16   WWD - Wayne    $80.00    a pplication                                                             0.20

                                    Letter to Luke Dove, work on attorney's fee award, emails
03/17/16   WWD - Wayne    $200.00   from M. Lowry.                                                           0.50
03/17/16   SG - Sarah     $29.17    Fees on Fees: T/C w/ SJ discuss hourly rate chart for mtn                0.08
03/17/16   Si -Jaffe      $17.60    Fees on Fees: TC with SG re: fees application                            0.08
03/17/16   SG - Sarah     $58.83    Fees on Fees: Rework expenses chart - mtn for disputed fees              0.17

03/17/16   SJ - Jaffe     $330.00   Fees on Fees: Update charts re new rates for declaration                 1.50
03/17/16   SJ - Jaffe     $387.20   Fees on Fees: Review and edit fees motion                                1.76



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03/17/16 ML - Marcia          $1,381.25 Fees on Fees: edit/revise fees memo, affirmation                        3.25
03/17/16 SG - Sarah            $106.25 Fees on Fees: tc/SG re affirmation                                       0.25
03/17/16 SG - Sarah             $87.50  Fees on Fees: TC w/ ML re affirmation                                   0.25
03/17/16   SG - Sarah         $262.50    Fees on Fees: Draft Declaration of SG                                  0.75
03/17/16   SG - Sarah          $29.17    Fees on Fees: T/C w/ ML final revision of ML dec                       0.08
03/17/16   ML - Marcia         $34.00    Fees on Fees: TC w/ SG re final revision of ML dec                     0.08
                                         Review docket and obtain L.Dove affidavit to forward to
03/17/16   JGAL - Altobelli    $22.00    W.Drinkwater                                                           0.20
03/18/16   WWD - Wayne        $200.00    Receive and review draft brief, declarations                           0.50
                                         Receive and review email from Luke Dove, work on
03/22/16   WWD - Wayne        $600.00    attorney's fee documents                                               1.50
                                         Receive and review email from L. Dove, work on attorneys'
03/23/16   WWD - Wayne        $200.00    fee award                                                              0.50
                                        Work on brief in support of attorneys'fee motion,revise
03/24/16   WWD - Wayne        $1,000.00 declaration and emails S. Robinson-Glasser                              2.50
                                         Advise S.Glasser regarding local filing rules for fee motions
03/24/16   MJB - Michael       $65.25    and accompanying declarations                                          0.30
                                         Fees on Fees: Send/receive emails from Si, SD, MB re content
03/24/16   SG - Sarah         $525.00    for motion/memo / decs for contested fees                              1.50
03/24/16   SG - Sarah          $58.33    Fees on Fees: Eml to/from ML re hourly rate for Si                     0.17
                                         Fees on Fees: Emls to review edits by WD to memo and
03/24/16   SG - Sarah         $175.00    to/from SD re his declaration                                          0.50
03/24/16   ML - Marcia        $141.67    Fees on Fees: rev edits to fees.memo                                   0.33
03/24/16   SJ -Jaffe           $355.67   Fees on Fees: draft proposed order and motion                          1.62
                                         Draft/Edit/Revise memo : Edit/revise proposed order,
03/24/15   SG - Sarah          $175.00   proposed motion and last draft of memo of law                          0.50
03/24/16   Si - Jaffe          $238.33   Fees on Fees: Edit fees motion, calculate new fees total               1.08
                                         Fees on Fees: Emails w/ SG and SD re: fees memo, proposed
03/24/16   Si -Jaffe           $110.00   order, and motion                                                      0.50
03/25/16   Si - Jaffe          $535.33   Fees on Fees: Format and edit fee memorandum                           2.43
03/25/16   ML - Marcia         $743.75   Fees on Fees: rev, edit papers in support of fees motion               1.75
03/25/16   ML - Marcia         $106.25   Fees on Fees: t/c SG re filing motions                                 0.25
                                         Emails with S.Glasser regarding local practice on proposed
03/25/16   MJB - Michael       $65.25    orders and fee requests                                                0.30
03/25/16   SG - Sarah          $87.50    Fees on Fees: TC w/ ML re filing motions                               0.25
03/25/16   SJ -Jaffe           $531.67   Fees on Fees: Revise fee memos and declarations                        2.42
03/25/16   SJ -Jaffe           $91.67    Fees on Fees: Edit fee memo                                            0.42
03/25/16   Si -Jaffe           $14.67    Fees on Fees: TC with SG re: fee memo                                  0.07
03/25/16   SG - Sarah          $24.50    Fees on Fees: TC wl Si re fee memo                                     0.07
                                         Confer with S.Glasser and W.Drinkwater regarding final
03/28/16   MJB - Michael       $65.25    revisions to attorneys' fee declaration                                0.30




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 Date      By Whom          Amount      Notes                                                           Time

03/28/16   SJ - Jaffe       $168.67    Fees on Fees: Upload and compile fee memo/ declarations                 0.77
03/30/16   SJ - Jaffe        $91.67    Fees on Fees: Update fees memo,email to Sara and Michael                0.42
                                       Review final drafts of motion, brief, and exhibits provided by
03/30/16   MJB - Michael     $65.25    S.Jaffe and propose edits to same                                       0.30

03/31/16   WWD - Wayne       $80.00    Work on attorney's fee award                                            0.20

03/31/16   WWD - Wayne       $80.00    Emails re attorney's fee motions, conf. M. Bentley                      0.20
                                       Review revised fee motion and brief and emails with S.Jaffe
03/31/16   MJB - Michael     $87.00    regarding preparations for filing same                                  0.40
                                       Emails re declaration of Luke Dove, attorney's fee motion,
04/01/16   WWD - Wayne      $160.00    conf. M. Bentley; emails S. Jaffe re filing of motion, brief            0.40
                                       Review W.Drinkwater declaration in support of fee request
                                       and compile exhibits supporting same (0.6); review, finalize,
                                       and coordinate filing of motion for attorney'fees and
04/01/16    MJB - Michael   $217.50    supporting exhibits (0.4)                                               1.00
                                       Fees on Fees: update dates on motion and memo, email with
04/04/16   SJ - Jaffe        $88.00    Michael                                                                 0.40
                                       Fees on Fees: legal research re length of time for defendants
04/05/16   S.1- Jaffe        $66.00    reply to attorneys fees motion                                          0.30

04/18/16   WWD - Wayne      $120.00    Emails M. Lowry re appropriation, attorney's fee motion                 0.30
                                       Fees on Fees; Conf call with ML and SG re draft of resp to
04/19/16   SJ - Jaffe        $55.00    opp re atty fees mtn                                                    0.25

                                       Fees on Fees: TC w/ SG re case research and use of evidence
04/19/16   SJ -Jaffe         $17.60    in resp                                                                 0.08
04/19/16   SJ - Jaffe       $260.33    Fees on Fees: Review cases and begin outlining fee motion               1.18
04/19/16   SJ - Jaffe       $1,085.33 Fees on Fees: Draft fees brief reply                                     4.93
                                      Fees on Fees: Con call w/ ML and SJ re draft of response to
04/19/16   SG - Sarah        $87.50   opp re attys fees mtn                                                    0.25
04/19/16   ML - Marcia      $106.25    Fees on Fees: tc/SG, SJ re response                                     0.25
                                       Fees on Fees: add't t/c/ w/ SJ re case research and use of
04/19/16   SG - Sarah        $29.17    evidence in resp                                                        0.08
                                       Fees on Fees: review cases for reply; review & revisions to
04/19/16   SG - Sarah       $350.00    d raft reply                                                            1.00
04/19/16   ML - Marcia      $566.67    Fees on Fees: review state reply, notes, pls draft response             1.33

04/19/16   Si -Jaffe        $484.00    Fees on Fees: Additional research and drafting of fee reply             2.20

04/19/16   SJ - Jaffe       $102.67    Fees on Fees: Incorporate Marcia's edits into fee reply brief           0.47

04/20/16   WWD - Wayne      $160.00    Work on attorney's fee issues, emails M. Lowry                          0.40
04/20/16   SG - Sarah        $58.33    Fees on Fees: Emls to SJ and ML re revisions to fees reply              0.17
04/20/16   SG - Sarah        $58.33    Fees on Fees: TC w/SJ re adjustment in prayer for relief                0.17

04/20/16   Si - Jaffe        $37.40    Fees on Fees: Call with SG re: fee reply                                0.17



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 Date      By Whom         Amount    Notes                                                              Time

                                     Fees on Fees: Final revisions to Reply to Defendants'
04/20/16   SG - Sarah      $350.00   Opposition to Fees Motion and emls to WD re final input                   1.00
04/20/16   ML - Marcia     $177.08   Fees on Fees: eml t/f co-c re brief                                       0.42
04/21/16   SG - Sarah      $87.50    Fees on Fees: TC w/ ML re fees memo                                       0.25
04/21/16   SG - Sarah      $58.83    Fees on Fees: Send /rec emails regrding filing of reply                   0.17

04/21/16   WWD - Wayne     $480.00   Emails S. Glasser, M. Lowry; review and edit reply brief                  1.20
                                     Emails with S.Glasser to coordinate filing of reply in support
04/21/16   MJB - Michael   $21.75    of fee motion                                                             0.10
                                     Fees on Fees: Review of proposed order, slight modifications;
04/21/16   SG - Sarah      $116.67   re-send to Si                                                             0.33
04/21/16   ML - Marcia     $495.83   Fees on Fees: email to RF, co-c re interim order on fees                  1.17
04/21/16   ML - Marcia     $531.25   Fees on Fees: rev., edit pls reply                                        1.25
04/21/16   ML - Marcia     $106.25   Fees on Fees: tc / SG re fees memo                                        0.25
04/21/16   Si - Jaffe      $91.67    Fees on Fees: Edit and proofread fee reply                                0.42
04/21/16   SG - Sarah      $87.50    Document review: Final review of Reply/ filing info                       0.33
                                     Draft/Edit/Revise legal documents: Final document review of
04/21/16   SG - Sarah      $262.50   reply and proposed order; transmit for filing                             0.75
04/22/16   SJ - Jaffe      $80.67    Fees on Fees: Draft proposed order for fee reply                          0.37
04/22/16   SJ - Jaffe      $36.67    Fees on Fees: Emails with SG re: additional edits on fee reply            0.17
04/22/16   SG - Sarah      $116.67   Telephone call: TC w/ SJ re revisions to Reply brief                      0.33
04/22/16   SJ -Jaffe       $128.33   Fees on Fees: Incorporate WD's edits into fee reply                       0.58

                                     Edit reply brief, and emails to M. Lowry, S. Glasser, M.
04/22/16   WWD - Wayne     $240.00   Bentley                                                                   0.60
                                     Review W.Drinkwater's proposed revisions to reply brief in
                                     support of fee motion (0.1); review and file reply in support
04/22/16   MJB - Michael   $152.25   of fee motion and proposed order granting fees (0.6)                      0.70
                                     Fees on Fees: Research interim fee award caselaw for fee
04/22/16   SJ - Jaffe      $121.00   reply                                                                     0.55
04/22/16   SJ - Jaffe      $73.33    Fees on Fees: Telephone call with SG re: fee reply                        0.73
04/22/16   SG - Sarah      $116.67   Telephone call: TC w/ SJ re revisions to Reply brief                      0.33
04/22/16   SJ - Jaffe      $770.00   Fees on Fees: Proofread and edit fee reply, proposed order                3.50
04/22/16   ML- Marcia      $141.67   Fees on Fees: rev email WD re brief, email SG, SJ re edits                0.33

04/22/16   ML - Marcia     $141.67   Fees on Fees: emails SG, SJ re order, brief                               0.33
                                     Fees on Fees: review proposed order, brief, edits re same,
04/22/16   ML - Marcia     $318.75   email SG, SJ                                                              0.75
                                     Fees on Fees: Prepare documents for filing of fee reply, send
04/22/16   SJ -Jaffe       $238.33   to Michael Bentley                                                        1.08
                                     Fees on Fees: Revision of final drafts of reply brief, order and
04/22/16   SG - Sarah      $700.00   emails re same - emls with Si, MB and ML re same                          2.00




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05/05/16   ML - Marcia    $425.00    Fees on Fees: rev, fees order, emails t/f co-c                      1.00
05/05/16   ML - Marcia    $212.50    Fees on Fees: rev, fees order                                       0.50
05/05/16   ML - Marcia    $637.50    Fees on Fees: draft press release,                                  1.50
                                     Receive and review order on attorney's fees and expenses;
05/06/16   WWD - Wayne    $200.00    emails M. Lowry re same,future proceedings                          0.50
05/23/16   ML - Marcia    $141.67    Fees on Fees: emails to/from co-counsel re fee award                0.33
                                     Fees on Fees: 3 emails to/from ML and 1 frm RF re fees
05/23/16   SG - Sarah     $262.50    payment; prepare sample invoice; send                               0.75
05/24/16   WWD - Wayne    $120.00    Emails re July 12 meeting, attorneys' fee award                     0.30
                                     Fees on Fees: Several TC/ and emails w/ ML re format of
05/24/16 SG - Sarah       $116.67    revised invoice                                                     0.33
                                     Fees on Fees: Email to WD re format of revised invoice and
05/24/16 SG - Sarah        $35.00    amount owed to Bradley Arant                                        0.10
05/25/16 SG - Sarah        $35.00    Fees on Fees: email to RF re invoice for fees and expenses          0.10
                                    Send/Receive text message or email: follow up on fees
05/26/16 SG - Sarah        $35.00   payment                                                            0.10
                         $44,011.51                                                                  142.18




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